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                                              STATE OF NEW YORK
                                        OFFICE OF THE ATTORNEY GENERAL
 LETITIA JAMES                                                                          DIVISION OF SOCIAL JUSTICE
ATTORNEY GENERAL                                                                            CIVIL RIGHTS BUREAU

                                                                    March 1, 2021
      VIA ECF
      The Honorable Gabriel W. Gorenstein
      United States District Court
      Southern District of New York
      Daniel Patrick Moynihan Courthouse
      500 Pearl Street
      New York, New York 10007

                 Re:    New York City Policing During Summer 2020 Demonstrations
                        [Payne, et al. v. Mayor Bill de Blasio, et al., 20 Civ. 8924 (CM)
                        Sierra, et al. v. City of New York, et al., 20 Civ. 10291 (CM)
                        Wood v. City of New York, et al., 20 Civ. 10541 (CM)
                        People of the State of New York v. City of New York, et al., 21 Civ. 322 (CM)
                        Sow, et al. v. City of New York, et al., 21 Civ. 533 (CM)]

      Dear Judge Gorenstein:
             We represent the plaintiff in People v. City of New York, et al., 21 Civ. 322. Pursuant to
      Chief Judge McMahon’s order at the February 22, 2021 initial conference, we submit this letter
      on behalf of the parties in the above-referenced consolidated actions to propose interim
      discovery deadlines.
              The parties have conferred regarding discovery. In addition to agreeing to serve
      discovery requests electronically and to confer later this week regarding e-discovery, we propose
      the below interim deadlines; the Court-ordered discovery deadlines are included in bold for
      reference.
                 March 18, 2021:      Initial Disclosures Due
                 March 25, 2021:      First Request for Documents and First Set of Interrogatories Due
                 April 8, 2021:       Defendants to provide proposed date for completion of document
                                      production
                 April 26, 2021:      Objections and Responses due; Rolling production begins
                 July 1, 2021:        Deadline to depose class plaintiffs
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       September 1, 2021: Expert reports must be exchanged
       September 10, 2021: Class Certification Motions Due
       December 31, 2021: Deadline for all fact and expert discovery
       The only matter upon which the parties could not agree was whether a deadline should be
imposed for depositions. Plaintiffs maintain that a November 30 deadline to conclude
depositions will aid the parties in resolving any disputes and completing discovery on time.
Defendants believe that depositions should be allowed up until the end of discovery on
December 31.
       Counsel welcome a conference with Your Honor to discuss this proposal and we thank
the Court for its consideration of this matter.
                                               Respectfully submitted,

                                               /s/ Lillian Marquez
                                               Jessica Clarke, Civil Rights Bureau Chief
                                               Lillian Marquez, Assistant Attorney General
                                               Morenike Fajana, Special Counsel
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cc:    All Counsel of Record (by ECF)
